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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CRIMINAL MINUTES - SENTENCING AND JUDGMENT

CASE NO. CR 23-0468-TJH Date: JUNE 4, 2024
HONORABLE TERRY J. HATTER, JR.,UNITED STATES DISTRICT JUDGE

Yolanda Skipper Maria Bustillos Brittney M. Harris
Deputy Clerk Court Reporter Asst U.S. Attorney
HAYK MARTIROSYAN George G. Magdesyan, rtnd Yvette Hovespian Bearce

Defendant DFPD/APPTD/RTND/Counsel Interpreter-Armenian
SENTENCE:

X REFER TO SEPARATE JUDGMENT AND PROBATION/COMMITMENT ORDER and SEE BELOW
Other: Statement of Reasons pursuant to the transcript of proceedings.

x
X Filed and distributed judgment. JS-3.

cc: USM, FISCAL
:10

Deputy Clerk Initials YS
CR 90 (5/15) CRIMINAL MINUTES - SENTENCING AND JUDGMENT
